Case 1:24-cv-07984-KPF   Document 36-1   Filed 12/11/24   Page 1 of 2




             Appendix 1
        Case 1:24-cv-07984-KPF           Document 36-1          Filed 12/11/24    Page 2 of 2

                                    Torridon Law PLLC
                                      801 17th Street NW, Suite 1100
                                        Washington, DC 20006
                                             (202) 249-6900


                                             July 9, 2024

Via Email and Overnight Mail
Mr. Aravind Srinivas
Chief Executive Officer
Perplexity
575 Market Street
San Francisco, CA 94105

Dear Mr. Srinivas:

We at Torridon Law PLLC represent News Corp with respect to legal and related business issues
raised by AI, including Perplexity’s products.

You are no doubt aware of the copyright, trademark, DMCA and unfair competition issues that are
raised by your company’s use of AI, as well as the serious allegations concerning Perplexity’s
and/or its authorized agents’ conduct in bypassing Robots Exclusion Protocols and other measures
that protect the misappropriation of content.

News Corp (including its subsidiaries Dow Jones, News UK, News Corp Australia and the New
York Post) is serious about enforcing its legitimate rights in these regards and protecting its business
from improper uses of AI and inappropriate measures to misappropriate its content. But News Corp
is also not “anti-AI.” There are sensible ways to give AI providers lawful, direct and timely access
to News Corp’s premium content, in a manner that greatly improves AI responses, while also
establishing guardrails around the development and use of AI that respect News Corp’s important
legal and business interests, as well as compensating News Corp fairly for the utilization of its
content. As one example, I am sure you have read about News Corp’s agreement with OpenAI,
which OpenAI describes as a “landmark multi-year global partnership with News Corp . . . to
support the highest journalistic standards and enrich our products with its premium journalism.”

We request a meeting to discuss your access to and use of News Corp content. It may be possible to
reach an agreement to improve the functionality of Perplexity AI, protect News Corp’s legitimate
and important business interests, and compensate News Corp for the utilization of its content.

If we fail to reach a mutually-beneficial agreement, News Corp will pursue its litigation strategy.
However, we can likely do more for each other, consumers, and innovation by first attempting to
reach fair marketplace agreements rather than proceeding to costly litigation.

We look forward to your response.

Sincerely,



William P. Barr
